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 DELBELLO DONNELLAN WEINGARTEN
 WISE & WIEDERKEHR, LLP
 Attorneys for the Plaintiff/Reorganized Debtor
 One North Lexington Avenue
 White Plains, New York 10601
 (914) 681-0200
 Steven R. Schoenfeld, Esq.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 In re:

 METRO NEWSPAPER ADVERTISING                                     Chapter 11
 SERVICES, INC.,                                                 Case No. 17-22445(RDD)

                                     Debtor.
 -----------------------------------------------------------X
 METRO NEWSPAPER ADVERTISING
 SERVICES, INC.,

                                      Plaintiff,                 Adversary Proceeding
                                                                 No. 18-08242-rdd
                                 v.

 CW PUBLISHING GROUP,

                                     Defendant
 -----------------------------------------------------------X


 NOTICE OF ADJOURNMENT OF PRETRIAL CONFERENCE FROM MAY 31, 2018
                     TO SEPTEMBER 17, 2018

        PLEASE TAKE NOTICE that the pretrial conference in this adversary proceeding

currently scheduled for May 31, 2018 at 10:00 a.m. at the United States Bankruptcy Court for

the Southern District of New York at 300 Quarropas Street, Courtroom 118, White Plains, New

York has been adjourned to September 17, 2018 at 10:00 a.m. at the same location.




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                                          Pg 2 of 2


Dated: White Plains, New York
       May 7, 2018
                                           DELBELLO DONNELLAN WEINGARTEN
                                           WISE & WIEDERKEHR, LLP
                                           Attorneys for the Plaintiff/Reorganized Debtor
                                           One North Lexington
                                           White Plains, New York 10601
                                           (914) 681-0200

                                           By: /s/ Steven R. Schoenfeld
                                           Steven R. Schoenfeld, Esq.


To: All Parties Receiving ECF Notifications and by E-Mail to the Defendant




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